Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 1 of 6 PageID #: 2020
Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 2 of 6 PageID #: 2021
Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 3 of 6 PageID #: 2022
Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 4 of 6 PageID #: 2023
Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 5 of 6 PageID #: 2024
Case 2:12-cr-20043-PKH   Document 352   Filed 06/18/13   Page 6 of 6 PageID #: 2025
